            Case 1:20-cr-00041-JPJ-PMS   Document 28-1    Filed 02/12/25           Page 1 of 1
                                         Pageid#: 184




      The Pomrenkes
   177 63 Mahogany Drive
    Abingdon, VA 24210




                              t/,,/~/ ~ r ?)~c:/ Civ/r
                                / l o tAJ . Ma},i             Si'.
                                ?oofV/     (01-

                              ;lJ/"J4 t,-G               d'/-cl/0

                                                           C,2/08    1   l I I ,I, I 11111111 I11 •I• j I I IIIi Ir II I II lJ JI• Ii I I• r•ii II I IIi I• I•• I,, 1

- - ~ - - ~ -~ ~ - - --                  -c...;._---'--------"'------------"-------------~--~___j
